Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 1 of 80 PagelD #: 6424

EXHIBIT A
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 2 of 80 PagelD #: 6425

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 1 of 32 PagelD #: 5587

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

AT CHARLESTON
IN RE: ETHICON, INC, PELVIC REPAIR Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY MDL No. 2327
LIGITATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL U.S. DISTRICT JUDGE
CASES

RESPONSES AND OBJECTIONS TO PLAINTIFFS’
NOTICES OF 30(b)(6) DEPOSITION OF DEFENDANTS

Defendants Ethicon, Inc. (“Ethicon”) and Johnson & Johnson (“J&J”) (collectively,
“Defendants”) hereby respond and object to Plaintiffs’ “Amended Notice to Take Oral
Deposition of Defendant Through Designated Witness Regarding TVT-O” (Doc. 482);
Plaintiffs’ “Amended Notice to Take Oral Deposition of Defendant Through Designated Witness
Regarding TVT-A” (Doc. 484); Plaintiffs’ “Amended Notice to Take Oral Deposition of
Defendant Through Designated Witness Regarding TVT-CLASSIC” (Doc. 485); Plaintiffs’
“Amended Notice to Take Oral Deposition of Defendant Through Designated Witness
Regarding TVT-S” (Doc. 486); and Plaintiffs’ “Amended Notice to Take Oral Deposition of
Defendant Through Designated Witness Regarding TVT-E” (Doc. 491) (collectively, the
“Notices”) which were served on April 2 and 3, 2013..

The Notices are attached as Exhibit “A.” They purport to identify the areas in which
Defendants’ representatives will testify at deposition and relate to seven devices manufactured
by Ethicon: TVT (including TVT-AA.and TVT-D); TVT-Obturator (“TVT-O”); TVT-Secur;

TVT Exact; and TVT Abbrevo (collectively, the “Devices”). More specifically, the Notices
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 ‘Page 3 of 80 PagelD #: 6426

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 2 of 32 PagelD #: 5588

pertain to the design and development of the Devices and are identical in all respects other than
the specific device at issue. In the interest of expediency and efficiency, Defendants collectively
respond herein to each of the Notices.!

The responses and objections contained herein are made without in any way waiving or
intending to waive—but on the contrary reserving aid intending to reserve—the right at any time
to revise, supplement, correct, or add to these objections and responses, Defendants note that no
documents have been withheld from production on the basis of the objections set forth in this

Response unless expressly stated.

SPECIFIC RESPONSES AND OBJECTIONS
TO THE NOTICES

Topic_a: The Standard Operating Procedures (SOP) associated with design and
development of the Devices,

Response and Objections to Topic a: Federal Rule of Civil Procedure 30(b)(6) requires

that the deposition notice “describe with reasonable particularity the matters for examination.”
The purpose of this requirement is to permit the deponent to be able to prepare properly for the
deposition, as the deponent may be asked to testify on matters outside of his or her personal
knowledge. Defendants object that this topic is overbroad and unduly burdensome and provides

insufficient notice under Rule 30(b)(6). The design and development of the Devices were long

' Inasmuch as each of the Notices relates to a single device, the topics set forth therein reference

the particular device at issue. For example, in the Notice regarding TVT-O, the first topic is the

“Standard Operating Procedures (SOP) associated with design and development of TVT-O.”
Each of the other four Notices is identical, but references one of the other devices, In responding

and/or objecting to the Notices’ topics, Defendants will refer generally to the Devices rather than

to any specific device.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 4 of 80 PagelD #: 6427

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 3 of 32 PagelD #: 5589

term projects, taking a total of more than a dozen years from TVT to TVT Exact and Abbrevo.
Thus, the Standard Operating Procedures associated with each device were revised multiple
times over the course of this time period. Defendants object that: (a) it is impossible for any
witness to testify about every version of the Standard Operating Procedure associated with each
device; (b) this topic is overbroad since there will be numerous standard operating procedures
applicable to the design of the Devices that have no bearing on this litigation; and (c) this is an
improper topic for an oral deposition as this information can be more efficiently transmitted by a
document production regarding the particular standard operating procedures that Plaintiffs seek
to discover.

Subject to and without waiving these Specific Objections, Defendants will produce a
witness or witnesses whose testimony will address the most recent Standard Operating Procedure
associated with the design and development of the Devices and answer questions to the best of

his or her ability regarding this improper request.

Topic b: The complete design history file for the Devices, including each component
part of the file, the custodian responsible for the file and the maintenance of the file.

Response and Objections to Topic b: During a meet and confer held on March 22,

2013, and in correspondence exchanged prior to that meet and confer, Defendants objected that
this topic is overbroad, is not stated with reasonable particularity as required by the Rule, is
unduly burdensome, and provides insufficient notice under Rule 30(b)(6). It is Defendants’
understanding that, as a result of that meet and confer, Plaintiffs agreed that this topic is overly

broad and reformulated it to seek testimony regarding the following: (1) what makes up the
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 5 of 80 PagelD #: 6428

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 4 of 32 PagelD #: 5590 -

Design History File “(DHEF”); (2) what are the component parts of the DHF; (3) the custodian of
the DHF; (4) how the DHF is maintained; and (5) the Bates ranges for each DHF.

Defendants will produce a witness to testify in regard to items 1-4 of the reformulated
topic. But Defendants object that item 5 is an inappropriate subject for a 30(b)(6) deposition.
Each of the products at issue has a design history file. These design history files are voluminous
and, in total, comprise more than ten thousand pages of material. Due to the size of these
documents, no company witness could possibly testify to the completeness of a particular DHF
presented to him or her. Moreover, the individual whom Defendants will designate regarding the
topic of DHFs played no role in Bates stamping these documents and cannot personally verify
the accuracy of any produced copy.

Defendants are more than willing to provide Plaintiffs a written discovery response that
identifies the Bates ranges of each DHF to satisfy any concern Plaintiffs may have about the

completeness of the DHFs produced.

Topic ¢: Members and procedures of the Product Development Team for the Devices.

Responses and Objections to Topic c: Defendants object that this topic is overbroad
and unduly burdensome and provides insufficient notice under Rule 30(b)(6). The design and
development of the Devices were long-term projects; the members and procedures of the Product
Development Team for the Devices changed over time encompassing more than twelve years;
and this information is reflected in the design history files—which encompass more than ten
thousand pages of material. It is impossible for any witness to testify about the members and
procedures of the Product Development Team for seven products. Defendants further object that

this topic is vague and ambiguous. Due to the long-term nature of the projects, as well as the

4
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 6 of 80 PagelD #: 6429

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 5 of 32 PagelD #: 5591

fact that many individuals played only a tangential role in those projects, various witnesses may
consider the same individual to be “on” or “not on” the design team for a particular device,
Finally, Defendants object that the information sought in this topic is more readily available to
Plaintiffs from other sources. Such information is included in the design history files, which
Defendants have already produced to Plaintiffs as they were kept in the ordinary course of
business and in an electronically searchable format. See, e.g., Catt v. Affirmative Ins. Co., No.
2:09-CV-243, 2009 WL 1228605 at * (N.D. Ind. Apr. 30, 2009) (finding deposition topic that
sought general testimony about documents produced “too broad and not described with
reasonable particularity”).

As part of the meet and confer process, Defendants identified specific documents (such as
the Design and Development Plan, Team meeting minutes, and lab reports) that list individuals
working on the projects. As a result, Plaintiffs can ascertain the identities of the individuals who

worked on these projects without undue burden.

Topic d: The Operating Procedures associated with Product Development Cycle.

Responses and Objections to Topic d: Defense counsel do not understand what is

sought by this topic, If Plaintiffs clarify this topic, subject to and without waiving any
objections, Defendants will produce a witness or witnesses to testify on this topic, to the extent

such information is reasonably available to Defendants.

Topic e: The Design Output file, including the specifications of the Devices.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 7 of 80 PagelD #: 6430

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 6 of 32 PagelD #: 5592

Responses and Objections to Topic e: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic f: The user needs and design requirements for the Devices.
Responses and Objections to Topic f; Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic g: The Cadaver Lab evaluations for the Devices.

Responses and Objections to Topic g: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic _h: The specifics of all testing related to the Devices during the design and
development stages, including but not limited to bench testing, porosity testing, particle loss,
fraying, degradation, and leaching.

Responses and Objections to Topic h: Defendants object that: (a) it would be

impossible for any witness (or even multiple witnesses) to testify regarding the “specifics of all
testing related to the Devices;” {b) this topic is overbroad since there are numerous tests
performed on the Devices that have no bearing on this litigation; and (c) this is an improper topic
for an oral deposition as this information can be more efficiently transmitted by a document

production regarding the particular tests Plaintiffs seek to discover.

6
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 8 of 80 PagelD #: 6431

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 7 of 32 PagelD #: 5593

Subject to and without waiving these Objections, Defendants will produce witnesses who
will be prepared to address the testing to the best of their ability. This will require the
designation of several different individuals; Defendants disclosed the identity of those

individuals by correspondence to Plaintiffs’ counsel dated March 28, 2013.

Topic i: All project names of the Devices.
Responses and Objections to Topic i: Defendants object that the information sought in this
topic is more readily available to Plaintiffs from other sources, Such information is included in
the design history files, which Defendants have already produced to Plaintiffs in the manner they
were kept in the ordinary course of business and in an electronically searchable format. See, €.g.,
Catt v. Affirmative Ins. Co., No. 2:09-CV-243, 2009 WL 1228605 at * (N.D. Ind. Apr. 30, 2009)
(finding deposition topic that sought general testimony about documents produced “too broad
and not described with reasonable particularity”),

In an effort to compromise, Defendants will, in advance of the deposition, provide

Plaintiffs with a list of the project names it has identified for the Devices to date.

Topic j: Design verification of the Devices.

Responses and Objections to Topic j: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic k: Design validation of the Devices,
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 9 of 80 PagelD #: 6432

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 8 of 32 PagelD #: 5594

Responses and Objections to Topic k: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic 1; The Design Review, Process Qualification (PQ) and Design Transfer for the

Devices.

Responses and Objections to Topic 1: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic m: The Product Device Design Safety Assessment (DDSA) and the policies and
procedures related to these analyses.

Responses and Objections to Topic m: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic n: Product Device Design Failure Modes Effects Analysis (AFMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects Analysis
(aFMEA).

Responses and Objections te Topic n: Subject to and without waiving any. objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants,
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 10 of 80 PagelD #: 6433

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 9 of 32 PagelD #: 5595

Topic 0: The Product Device Design Requirements Matrix.
Responses and Objections to Topic o: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants,

Topic p: The Product Device Qualitative and Quantitative Characteristics Worksheets,
including but not limited to Hazard Worksheet and ranking tables.

Responses and Objections to Topic p: Defendants object that this topic overlaps with

several prior topics (in particular topics m and n), and any intended differentiation between this
topic and prior topics is vague and ambiguous.

Defendants invite Plaintiffs to meet and confer to determine whether there is any aspect
of this topic that is not already being addressed by testimony that Defendants have agreed to

provide in response to prior topics.

Topic q: The Clinical Validation Test Reports; Procedures for preparing and keeping
Minutes and Agendas for Design Review Meetings.

Responses and Objections to Topic q: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic r: As it relates to design control and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in and/or

fund any clinical registries regarding the Devices.

9
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 11 of 80 PagelD #: 6434

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 10 of 32 PagelD #: 5596

Responses and Objections to Topic r:; Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants,

Topics: Any patents related to the Devices and their predecessor mesh products.

Responses and Objections to Topic s: As a result of the partics’ meet and confer held

on March 22, 2013, Plaintiffs agreed to limit this topic to the Devices identified in the Notices
(.e., TVT, TVT-AA, TVT-O, TVT-Secur, TVT Exact, and TVT-Abbrevo). Additionally, during
that same meet and confer and in response to Defendants’ objection that the topic was too broad,
Plaintiffs indicated that their areas of interest were the identity of the inventor, the name of the
patent holder, a description of the patent, and testimony regarding the patents for the Devices
from a “design perspective.”

Defendants maintain their objection that this topic, as limited by Plaintiffs, fails to
describe with reasonable particularity the matters for examination, as required by Rule 30(b)(6).
In an effort to compromise, however, Defendants will produce a witness to testify about the
United States patents directly related to the Devices, For each of these patents, Defendants’
designee will be prepared to testify as a corporate representative regarding the identity of the
inventor, the name of the present holder of each patent, and the patent’s description.
Additionally, the designee will be prepared to testify about the patents from a “design
perspective” and to his or her personal knowledge concerning each of the patents at issue,

Finally, Defendants note that the Devices are the subject of patent filings in ex-United
States jurisdictions. Defendants do not read the Notices to seek testimony concerning ex-United

States patents. To the extent the Notices do seek such testimony, Defendants object to the

10
~ Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 12 of 80 PagelD #: 6435

Case 2:12-md-02327 Document517 Filed 04/10/13 Page 11 of 32 PagelD #: 5597

production of any information regarding ex-United States patents (or patent filings) as not
reasonably calculated to lead to the discovery of admissible evidence, unreasonably burdensome,

and equally available to Plaintiffs, to the extent such filings are matters of public record.

Topic t; The identity of and financial compensation paid to any consultants retained
during the design and development of the Devices.

Responses and Objections to Topic t; Defendants object that this topic is vague and

ambiguous, overbroad, and unduly burdensome and provides insufficient notice under Rule
30(b){6).

As an initial matter, the topic refers to the identity of “any consultants” and does not limit
itself to consultants who participated in the design of the Devices, Additionally, even if the topic
is read to request testimony only on the consultants. who participated in the design and
development of the Devices, these Devices were designed over a period of more than a dozen
years and involve seven products. No witness could be prepared to testify on this topic.

Subject to and without waiving any objections, Defendants are still making inquiries

regarding this proposed topic.

Topic u: The monitoring, investigation and evaluation of post-marketing adverse event
reports for the Devices for design issues.

Responses and Objections to Topic u: Subject to and without waiving any objections,

Defendants designated Dan Lamont on this topic which was addressed at his deposition on April

3 and 4, 2013.

11
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 13 of 80 PagelD #: 6436 ©

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 12 of 32 PagelD #: 5598

Topic v:; The monitoring, evaluation and utilization of unpublished and/or published
medical literature regarding the Devices for design issues.

Responses and Objections to Topic v: Subject to and without waiving any objections,

Defendants are still making inquiries regarding this proposed topic.

Topic w: As it relates to design control and validation, the investigation, evaluation and
determination as to whether there is an association between the design of the Devices and any

adverse event experienced by patients who were provided the Devices.

Responses and Objections to Topic w: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic x; The investigation, evaluation and determination as to whether there is a causal
connection between the design of the Devices and any adverse event or injuries.

Responses and Objections to Topic x: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic y: The substantive design and approval of package inserts, IFUs, and other
labeling for the Devices (both U.S. and foreign), including the specific dates of use for each such
items and any design changes thereto.

Responses and Objections to Topic y: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic as it relates to the English

12
' Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 14 of 80 PagelD #: 6437

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 13 of 32 PagelD #: 5599

language to the extent such information is reasonably available to Defendants. To the extent it
relates to foreign labeling, Defendants object that this topic fails to meet the particularity
requirement of Rule 30(b)(6). No witness could be prepared to testify about the labeling in all
languages for the Devices. Moreover, Defendants object that the topic is not reasonably
calculated to the discovery of admissible evidence, unless Plaintiffs can establish that the
implanting surgeons in this case relied on non-English versions of Defendants’ labels. Finally,
Defendants object that assembling such information would be unduly burdensome. If the
Plaintiffs believe that a particular IFU in a particular language other than English is relevant to

this case, Defendants invite them to meet and confer on this issue.

Topic ii (sic): The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to the Devices from the date first started
developing the Devices until the present.

Responses and Objections to Topic ii: Defendants object that this topic is vague and

ambiguous, in particular as to the phrase “finances . . . with regard to design and development,”
and provides insufficient notice under Rule 30(b)(6). Defendants further object that this topic is
-overbroad and unduly burdensome, in that, as written, it seeks information regarding every single
expenditure related to the design and development of seven products during a time period
encompassing more than a dozen years. It is impossible for any witness to testify on every such
expenditure.
Subject to and without waiving any objections, Defendants are still making inquiries

regarding this proposed topic.

13
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 15 of 80 PagelD #: 6438

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 14 of 32 PagelD #: 5600

Tepic_ jj (sic): The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications of the
Devices, from the date Ethicon, Inc. first started development the Devices until the present.

Responses and Objections to Topic jj: Defendants object that: (a) it is impossible for

any witness (or even multiple witnesses) to testify regarding the “interaction and communication
internally or with any outside consultants regarding the design specifications, including
conformance to specifications of the Devices” since such communications and interaction would
have occurred over the course of more than a dozen years; (b) this topic is dramatically
overbroad since there will be numerous consultants and interactions related to the Devices that
have no bearing on this litigation; and (c) this is an improper topic for an oral deposition as this
information can be more efficiently transmitted by a document production regarding the
particular communications Plaintiffs seek to discover.

Subject to and without waiving any objections, Defendants are still making inquiries

regarding this proposed topic.

Topic kk (sic) As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma

radiation/sterilization.

Responses and Objections to Topic kk: Defendants object that: (a) it is impossible for
any witness (or even multiple witnesses) to testify regarding the “the “manufacturing processes”
for all seven devices over a period of more than a dozen years; (b) this topic is dramatically
overbroad since there will be numerous manufacturing processes related to the Devices that have

no bearing on this litigation; and (c) this is an improper topic for an oral deposition as this

14
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 16 of 80 PagelD #: 6439

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 15 of 32 PagelD #: 5601

information can be more efficiently transmitted by a document production regarding the
particular communications Plaintiffs seek to discover,

In the meet and confer held on March 22, 2013, Plaintiffs advised Defendants that this
topic seeks testimony regarding the process by which the Prolene mesh is manufactured, woven,
tested, and sterilized, as well as similar “type” information regarding the tools that accompany
each device. As explained during that meet and confer, Defendants will produce a witness or
witnesses who are knowledgeable about the manufacturing processes in general and will be
prepared to discuss this topic at a high level. To the extent Plaintiffs elect to drill down on a
particular topic in greater detail, Defendants may have to identify additional witnesses to address

those topics,

Topic z: The identity of the individuals involved the [sic] defendants’ original decision
to design, develop and manufacture the Devices.

Responses and Objections to Topic z; Defendants object that this topic is vague and

ambiguous, in particular as to the phrase “original decision,” and does not provide the reasonable
particularity required by Rule 30(b)(6). Notwithstanding this objection, Defendants have agreed
to present a witness to testify regarding this topic to the best of his or her ability, given the

problems identified.

Topic aa: All medical assessments of the Devices as they relate to the design. control and

validation process.

15
~ Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 17 of 80 PagelD #: 6440

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 16 of 32 PagelD #: 5602

Responses and Objections to Topic aa: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic bb: The specifics of all clinical, preclinical, and medical testing related to the
Devices during the design and development stages.

Responses and Objections to Topic bb: Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic cc: Animal Testing Records for Biocompatibility as part of the design of the
Devices,

Responses and Objections to Topic ce; Subject to and without waiving any objections,
Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants.

Topic dd: The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding the Devices.

Responses and Objections to Topic dd: Subject to and without waiving any objections,

Defendants will produce a witness or witnesses to testify on this topic, to the extent such

information is reasonably available to Defendants,
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 18 of 80 PagelD #: 6441

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 17 of 32 PagelD #: 5603

Document Request No, 1: All documents relied upon by the deponent in preparing for

this deposition.

Responses and Objections to Document Request No. 1: Defendants object that this

request seeks information protected by the attorney work product doctrine. See, e.g., Hickman v.
Taylor, 329 U.S. 495, 511 (1947); In re Allen, 106 F.3d 582, 608 (4th Cir. 1997) (observing that
“choice and arrangement [of documents in witness’s personnel file by counsel for witness]
constitutes opinion work product because [counsel’s] section and compilation of these particular
documents reveals her thought processes and theories regarding this litigation”); Rhodes v. E.I du
Pont de Nemours & Co., 558 F. Supp. 2d 660, 671 (S.D. W. Va. 2008) (Goodwin, C.J.) (Courts
acknowledge that the document selection process represents the mental impressions of the
party’s counsel and is protected work product.” (internal quotation marks and alterations
omitted)). Defendants further note that each and every document relied upon by the deponent(s)
in preparing for this deposition(s) has already been produced to Plaintiffs, and Defendants object

to Plaintiffs’ request to replicate that production.

Document Request No. 2: Two exemplar products for all products listed in the Device

definitions,

Responses and Objections to Decument Request No. 2: Defendants have previously

produced to Plaintiffs an exemplar of each product at issue. Because there is no obligation under
the Federal Rules of Civil Procedure to produce multiple product samples of the products at
issue, Defendants object to this request and are not producing additional exemplars at this time.
If Plaintiffs have a compelling reason that they need multiple exemplars of one of the products at

issue, Defendants invite them to meet and confer on this issue.

17

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 19 of 80 PagelD #: 6442

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 18 of 32 PagelD #: 5604

Document Request _No. 3: Prototype meshes and samples/pathology/histopathology
slides of all pathology testing on the Devices,

Responses and Objections to Document Request No. 3: Defendants object that this

request is overbroad and unduly burdensome and do not intend to produce such samples at this
time. Defendants invite Plaintiffs to meet and confer to determine whether there are any
particular prototypes and samples/pathology/histopathology slides Defendants can or should

produce,

Document Request No. 4: All documents concerning corporate, departmental, and

employee organizational charts for your design and development department, product

development or product cycle teams.

Responses and Objections to Document Request No. 4: Defendants object that this

request is overbroad and unduly burdensome, in that it includes no temporal limitation and is not

limited to the Devices. Without waiving this objection, Defendants have produced

organizational charts for Ethicon. These charts were produced at the following Bates ranges:
ETH.MESH.0000222 1-ETH.MESH.00002548; and

ETH.MESH.00335088-ETH.MESH.00335617.

Document Request No. 5: The following documents for the design and development of

the Devices, including but not limited to:

a. The Clinical Expert reports;

b. Each version of the Device Design Safety Assessment (DDSA’s); Each version of
the Design Failure Modes Effects Analysis (AFMEAs), Process Failure Modes
18
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 20 of 80 PagelD #: 6443

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 19 of 32 PagelD #: 5605

Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis
(aFMEA);

c. Operating Procedures for Failure Modes and Effects Analysis;

d. Operating Procedure for Device Design Safety Assessment;

e. Design history files;

f. Design and specification of equipment used in the production of the Devices;
g. Design and specifications of packaging used in the production of the Devices;

h, Specifications regarding sanitization and sterilization of the Devices, plant
facilities and plant equipment;

i. Mesh Specifications;

j. Franchise procedure for medical device risk management plan;
k, Company procedure for medical device risk management plan;
l. Work Instruction for device risk management;

m. The Franchise procedure for the control and disposition of nonconforming
product;

n, All company policies and procedures that apply to or relate to the Design History
File;

o. The Franchise Procedure for Corrective and Preventative Action (CAPA) as well
as any other company policies and procedures related to CAPAs;

p. Risk management plans and reports for the Devices;

q. Members of product development team(s);

r. Operating procedures associated with a product development cycle;
s. The Devices’ quality manuals;

t. The Devices’ quality plans;

u. Management responsibilities under a quality system;

v. Mesh product design review, design verification, process qualification and design
transfer;

19
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 21 of 80 PagelD #: 6444

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 20 of 32 PagelD #: 5606

w. Mesh product device design requirements matrix;

x. Mesh product qualitative and quantitative characteristics worksheets, including
but not limited to hazard worksheet raking (sic) tables;

y. Mesh product validation test reports; and
z, Mesh product biocompatibility testing records.

Responses and Objections to Document Request No. 5: Defendants object that this

request is overbroad and unduly burdensome, in that many of its subparts include no temporal
limitation and are not limited to the Devices. Defendants further object that the request is vague
and ambiguous because, among other things, the term “Franchise Procedure” is undefined.
Finally, Defendants object that certain of the documents sought in this request are more readily
available to Plaintiffs from other sources. Defendants have, for example, already produced to
Plaintiffs the complete design history files as they were kept in the ordinary course of business in
an electronically searchable format. Without waiving these objections, below are the Bates
ranges of previously produced documents that Defendants believe are responsive to each subpart
of this request:
a. The Clinical Expert reports;

ETH.MESH.04384 126-ETH.MESH.043 84165
ETH.MESH.01189423-ETH.MESH.01 189439
ETH.MESH.00222899-ETH.MESH.00222909
ETH.MESH.01269170-ETH.MESH.01269207
ETH.MESH.00352889-ETH.MESH.00352909
ETH.MESH.00353020-ETH.MESH.00353037
ETH.MESH.00353675-ETH.MESH.00353695
ETH.MESH.00581212-ETH.MESH.00581229
ETH.MESH.00603823-ETH.MESH.00603843
ETH.MESH.00826028-ETH.MESH.00826045
ETH.MESH.01211448-ETH.MESH.01211468
ETH.MESH.01268329-ETH.MESH.01268349
ETH.MESH.01417471-ETH.MESH.01417491
ETH.MESH.017524 16-ETH.MESH.01752433
ETH.MESH.01795909-ETH.MESH.01795929

20
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 22 of 80 PagelD #: 6445

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 21 of 32 PagelD #: 5607

ETH.MESH.0303207 1-ETH.MESH.03032091
ETH.MESH.04548176-ETH.MESH.04548196

b. Each version of the Device Design Safety Assessment (DDSA’s); Each version of
the Design Failure Modes Effects Analysis (AFMEAs), Process Failure Modes
Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis
(aFMEA);

ETH.MESH.01317510-ETH.MESH.01317512
ETH.MESH.00752937-ETH.MESH.00752937
ETH.MESH.01407852-ETH.MESH.01407852
ETH.MESH.06268 141-ETH.MESH.06268 143
ETH.MESH.06277080-ETH.MESH.06277080
ETH.MESH.00223 177-ETH.MESH.00223186
ETH.MESH.00222389-ETH.MESH.00222392
ETH.MESH.00754859-ETH.MESH.00754859
ETH.MESH.01419741-ETH.MESH.01419741
ETH.MESH.01423057-ETH.MESH.01423057
ETH.MESH.05975526-ETH.MESH.05975526
ETH.MESH.00754439-ETH.MESH.00754440
ETH.MESH.00754497-ETH.MESH.00754498

¢. Operating Procedures for Failure Modes and Effects Analysis;
ETH.MESH.03742801-ETH.MESH.03742835
d. Operating Procedure for Device Design Safety Assessment;

ETH.MESH.037425 19-ETH.MESH.03742531
ETH.MESH.03742532-ETH.MESH.03742545

e. Design history files;

ETH.MESH.00218088-ETH.MESH.00218100
ETH.MESH.00221918-ETH.MESH.0022 1996
ETH.MESH,.00223778-ETH.MESH.00223792
ETH.MESH.00748002-ETH.MESH.00748057
ETH.MESH.00748213-ETH.MESH.00748278
ETH.MESH.01309984-ETH.MESH.013 10080
ETH.MESH.01310426-ETH.MESH.013 10482
ETH.MESH.01316727-ETH.MESH.01317613
ETH.MESH.01589783-ETH.MESH.01589787
ETH.MESH.01589800-ETH.MESH.01589802
ETH.MESH.01589807-ETH.MESH.01 589826
ETH.MESH.0387863 1-ETH.MESH.03878675
ETH.MESH.00223393-ETH.MESH.00223585

21

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 23 of 80 PagelD #: 6446

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 22 of 32 PagelD #: 5608

ETH.MESH.00752859-ETH.MESH.00753374
ETH.MESH.007591 19-ETH.MESH.00759 119
ETH.MESH.00759159-ETH.MESH.00759161
ETH.MESH.01407509-ETH.MESH.01592202
ETH.MESH.01592245-ETH.MESH.01594412
ETH.MESH.01594445-ETH.MESH.01594780
ETH.MESH.02312487-ETH.MESH.02312659
ETH.MESH.00748059-ETH.MESH.00748084
ETH.MESH.01310089-ETH.MESH.01310116
ETH.MESH.01589668-ETH.MESH.01589676
ETH.MESH.01589680-ETH.MESH.01589690
ETH.MESH.00221997-ETH.MESH,00222463
ETH.MESH.01317769-ETH.MESH.01318358
ETH.MESH.00222464-ETH.MESH.00222778
ETH.MESH.01318359-ETH.MESH.01318831
ETH.MESH.00222779-ETH.MESH.00223267
ETH.MESH.01318832-ETH.MESH.01319499
ETH.MESH.01319500-ETH.MESH.01320123
ETH.MESH.00073415-ETH.MESH.00073424
ETH.MESH.00223634-ETH.MESH. 00223639
ETH.MESH.00223654-ETH.MESH.00223655
ETH.MESH.00223800-ETH.MESH.00223828
ETH.MESH.00340459-ETH.MESH.00340467
ETH.MESH.00341700-ETH.MESH.00341702
ETH.MESH.00341720-ETH.MESH.00341729
ETH.MESH.00599666-ETH.MESH.00599668
ETH.MESH.00754858-ETH.MESH,00755383
ETH.MESH.01223664-ETH.MESH.01223689
ETH.MESH.01419739-ETH.MESH.01423820
ETH.MESH.01590015-ETH.MESH.01592898
ETH.MESH.01593009-ETH.MESH.01593254
ETH.MESH.01593459-ETH.MESH.01593681
ETH.MESH.02313037-ETH,.MESH.023 12042
ETH.MESH.06105506-ETH.MESH.06015508
ETH.MESH.00223588-ETH.MESH.00223633
ETH.MESH.00223793-ETH.MESH.00223799
ETH.MESH.00754439-ETH.MESH.00754857
ETH.MESH.00759086-ETH.MESH.00759158
ETH.MESH.01320389-ETH.MESH.01320394
ETH.MESH.01413955-ETH.MESH.01419738
ETH.MESH.01589884-ETH.MESH.01590014
ETH.MESH.01591876-ETH.MESH.01591913
ETH.MESH.01592339-ETH.MESH.01 592352
ETH.MESH.01592399-ETH.MESH.01592433
ETH.MESH.01592438-ETH.MESH.01592488

22
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 24 of 80 PagelD #: 6447

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 23 of 32 PagelD #: 5609

ETH.MESH.01592496-ETH.MESH.01592686
ETH.MESH.01592696-ETH.MESH.01592781
ETH.MESH.01592791-ETH.MESH.01592877
ETH.MESH.0159288 1-ETH.MESH.01593008
ETH.MESH.01593255-ETH.MESH.01593458
ETH.MESH.01594249-ETH.MESH.01594272
ETH.MESH.01594413-ETH.MESH.01594444
ETH.MESH.023 12660-ETH.MESH.023 13036
ETH.MESH.02604374-ETH.MESH.02604408
ETH.MESH.02615220-ETH.MESH.02615222

f. Design and specification of equipment used in the production of the Devices;

ETH.MESH.01317567-ETH.MESH.01317570
ETH.MESH.01409891-ETH.MESH.01410043
ETH.MESH.04974594-ETH.MESH.04974595
ETH.MESH.04974598-ETH.MESH.04974605
ETH.MESH.05795838-ETH.MESH.05795948
ETH.MESH.01420019-ETH.MESH.01420085
ETH.MESH.00755047-ETH.MESH.00755049
ETH.MESH.01420019-ETH.MESH.01420128
ETH.MESH.0142225 1-ETH.MESH.01422256
ETH.MESH.01422257-ETH.MESH.01422261
ETH.MESH.00754629-ETH.MESH.00754636
ETH.MESH.01414880-ETH.MESH.01415963
ETH.MESH.01592339-ETH.MESH.01592352
ETH.MESH.01592666-ETH.MESH.01592683
ETH.MESH.01592868-ETH.MESH.01592877
ETH.MESH.02010461-ETH.MESH.02010462

g. Design and specifications of packaging used in the production of the Devices;

ETH.MESH.01317529-ETH.MESH.01317530
ETH.MESH.00307955-ETH.MESH.00307958
ETH.MESH.003086 14-ETH.MESH.00308615
ETH.MESH.00753322-ETH.MESH.00753325
ETH.MESH.01407738-ETH.MESH.01407745
ETH.MESH.01409238-ETH.MESH.01409240
ETH.MESH.01409489-ETH.MESH.01409490
ETH.MESH.01592079-ETH.MESH.01592088
ETH.MESH.052994 1 8-ETH.MESH.052994 18
ETH.MESH.06169520-ETH.MESH.06169529
ETH.MESH.00222581-ETH.MESH.00222581
ETH.MESH.00222640-ETH.MESH.00222668
ETH.MESH.00755207-ETH.MESH.0075521 1
ETH.MESH.01420322-ETH.MESH.01 420338

23
Case 2:12-md-02327 ‘Document 584-1 Filed 05/09/13 Page 25 of 80 PagelD #: 6448

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 24 of 32 PagelD #: 5610

ETH.MESH.01420346-ETH.MESH.01420358
ETH.MESH.01420372-ETH.MESH.01420375
ETH.MESH.01422558-ETH.MESH.01422559
ETH,MESH.01422793-ETH.MESH.01422827
ETH.MESH.01422887-ETH.MESH.01422890
ETH.MESH.00754686-ETH.MESH.00754688
ETH.MESH.01417492-ETH.MESH.01417596

h. Specifications regarding sanitization and sterilization of the Devices, plant
facilities and plant equipment;

ETH.MESH.01317533-ETH.MESH.01317538
ETH.MESH.00752991-ETH.MESH.00753053
ETH.MESH.01407826-ETH.MESH.01407836
ETH.MESH.01409227-ETH.MESH.01409229
ETH.MESH.05796236-ETH.MESH.0579624 1
ETH.MESH.01318365-ETH.MESH.01318365
ETH.MESH.00755257-ETH.MESH.00755277
ETH.MESH.01423256-ETH.MESH.01423699
ETH.MESH.00754776-ETH.MESH.01 418736

i, Mesh Specifications;

ETH.MESH.05224994-ETH.MESH.05224997
ETH.MESH.03358376-ETH.MESH.03358378
ETH.MESH.00308009-ETH.MESH.00308017
ETH.MESH.00308607-ETH.MESH.00308607
ETH.MESH.01407536-ETH.MESH.01407539
ETH.MESH.01410044-ETH.MESH.01410047
ETH.MESH.052995 1 7-ETH.MESH.05299517
ETH.MESH.03715235-ETH.MESH.03715240
ETH.MESH.00755044-ETH.MESH.00755046
ETH,.MESH.00755050-ETH.MESH.00755054
ETH.MESH.01422207-ETH,.MESH.01422212
ETH.MESH.01422238-ETH.MESH.01422247
ETH.MESH.01422369-ETH.MESH.01 422380
ETH.MESH.01422406-ETH.MESH.01422409
ETH.MESH.01422414-~-ETH.MESH.01422420
ETH.MESH.00754638-ETH.MESH.00754652
ETH.MESH.01416450-ETH.MESH.01416496

j. Franchise procedure for medical device risk management plan;
ETH.MESH.03742440-ETH.MESH.03742466

k. Company procedure for medical device risk management plan;
24
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 26 of 80 PagelD #: 6449

Case 2:12-md-02327 Document517 Filed 04/10/13 Page 25 of 32 PagelD #: 5611

ETH.MESH.03742232-ETH.MESH.03742257
]. Work Instruction for device risk management;
ETH.MESH.03742546-ETH.MESH.03742570

m. The Franchise procedure for the control and disposition of nonconforming
product;

ETH.MESH.037503 t 1-ETH.MESH.0375035 1

n, All company policies and procedures that apply to or relate to the Design History
File;

Defendants will continue to search to determine whether any documents
responsive to this Request have been produced or should be produced and invite
Plaintiffs to meet and confer on this issue,

o. The Franchise Procedure for Corrective and Preventative Action (CAPA) as well
as any other company policies and procedures related to CAPAs;

ETH.MESH.03739016-ETH.MESH.03739034
ETH.MESH.03739119-ETH.MESH.03739156

p. Risk management plans and reports for the Devices;

ETH.MESH.00223779-ETH.MESH.00223784
ETH.MESH.00355500-ETH.MESH.00355516
ETH.MESH.01268264-ETH.MESH.01268277
ETH.MESH.01310061-ETH.MESH.013 10065
ETH.MESH.01310476-ETH.MESH.01310481
ETH.MESH.015898 12-ETH.MESH.01589825
ETH.MESH.04385327-ETH.MESH.04385340
ETH.MESH.00752928-ETH.MESH.00752932
ETH.MESH.00752940-ETH.MESH.00752943
ETH.MESH.00823952-ETH.MESH.00823954
ETH.MESH.03647572-ETH.MESH.03647580
ETH.MESH.00355500-ETH.MESH.003555 16
ETH.MESH.01589812~ETH.MESH.01589825
ETH.MESH.00260076-ETH.MESH.00260085
ETH.MESH.01419796-ETH.MESH.01419805
ETH.MESH.01423223-ETH.MESH.01423227
ETH.MESH.01418539-ETH.MESH.01418544
ETH.MESH.01593315-ETH.MESH.01593325
ETH.MESH.04203368-ETH.MESH.04203375

q. Members of product development team(s);
25
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 27 of 80 PagelD #: 6450

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 26 of 32 PagelD #: 5612

The members of the product development teams are set forth in the Design
History Files (see subpart (e)), such that this information is equally accessible to
Plaintiffs as it is to Defendants. For that reason, Defendants do not intend at this
time to re-review these files to identify that information.

rt, Operating procedures associated with a product development cycle;

ETH.MESH.03743022-ETH.MESH.03743040
ETH.MESH.0637853 | -ETH.MESH.06378564

s. The Devices’ quality manuals;

ETH.MESH.03739845-ETH.MESH.03739883
ETH.MESH.03740357-ETH.MESH.03740407

t. The Devices’ quality plans;

ETH.MESH.01589786-ETH.MESH.01 589786
ETH.MESH.00302537-ETH.MESH.00302542
ETH,.MESH.01592172-ETH.MESH.01592176
ETH.MESH.00223 172-ETH.MESH.00223173
ETH.MESH.01593040-ETH.MESH.01593045
ETH.MESH.00754756-ETH.MESH.00754756
ETH.MESH.01418538-ETH.MESH.01418538
ETH.MESH.0159279 | -ETH.MESH.01592796

u. Management responsibilities under a quality system;

Defendants will continue to search to determine whether any documents
responsive to this Request have been produced or should be produced and invite
Plaintiffs to meet and confer on this issue.

v. Mesh product design review, design verification, process qualification and design
transfer;

ETH.MESH.00309254-ETH.MESH.00309350
ETH.MESH.01309985-ETH.MESH.01309988
ETH.MESH.00748032-ETH.MESH.00748033
ETH.MESH.00858217-ETH.MESH.00858224
ETH.MESH.00858264-ETH.MESH.00858264
ETH.MESH.00858266-ETH.MESH.00858268
ETH.MESH,00858270-ETH.MESH.00858270
ETH.MESH.00858272-ETH.MESH.00858278
ETH.MESH.00867295-ETH.MESH.00867295
ETH.MESH.01409160-ETH.MESH.01409161
ETH.MESH.01409491-ETH.MESH.01409504

26
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 28 of 80 PagelD #: 6451

Case 2:12-md-02327 Document517 Filed 04/10/13 Page 27 of 32 PagelD #: 5613

ETH.MESH.01318365-ETH.MESH.00222945
ETH.MESH.00222649-ETH.MESH.00222650
ETH.MESH.00223 198-ETH.MESH.00223267
ETH.MESH.00222977-ETH.MESH.00223040
ETH.MESH.00223648-ETH.MESH.00223648
ETH.MESH.00223800-ETH.MESH.00223828
ETH.MESH.00755002-ETH.MESH.00755005
ETH.MESH.01419928-ETH.MESH.01419931
ETH.MESH.01419934-ETH.MESH.01419963
ETH.MESH.00223592-ETH.MESH.00223617
ETH.MESH.00223625-ETH.MESH.00223632
ETH.MESH.00223793-ETH.MESH.00754538
ETH.MESH.00754595-ETH.MESH.01414728
ETH.MESH.01414762-ETH.MESH.01414762
ETH.MESH.01417706-ETH.MESH.01417982
ETH.MESH.01589884-ETH.MESH.01589986
ETH.MESH.01594413-ETH.MESH.01594444
ETH.MESH,023 12661-ETH.MESH.02312663

w. Mesh product device design requirements matrix;

ETH.MESH.01316771-ETH.MESH.01316776
ETH.MESH.00748022-ETH,MESH.00748031
ETH.MESH.01409306-ETH.MESH.01409348
ETH.MESH.00748011-ETH.MESH.00748014
ETH.MESH.01419895-ETH.MESH.01419914
ETH.MESH.01414512-ETH.MESH.01414552
ETH.MESH.01414644-ETH.MESH.01414710
ETH.MESH.01414553-ETH.MESH.01414643

x. Mesh product qualitative and quantitative characteristics worksheets, including
but not limited to hazard worksheet raking (sic) tables;

ETH.MESH,01310064-ETH.MESH.01310064
ETH.MESH.00752933-ETH.MESH.00752934 |
ETH.MESH.00222371-ETH.MESH.00222380
ETH.MESH.0022238 1-ETH.MESH.00222388
ETH.MESH.01419739-ETH.MESH.01419739
ETH.MESH.01418543-ETH.MESH.01418543
ETH.MESH.01593319-ETH.MESH.01593320

y. Mesh product validation test reports; and

ETH.MESH,00748214-ETH.MESH.00748262
ETH.MESH.00307449-ETH.MESH.00307451
ETH.MESH.0030747 1-ETH.MESH.00307484

27
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 29 of 80 PagelD #: 6452

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 28 of 32 PagelD #: 5614

ETH.MESH.00307492-ETH.MESH.00307526
ETH.MESH.01409023-ETH.MESH.01409058
ETH.MESH.01592121-ETH.MESH.01592171
ETH.MESH.00222788-ETH.MESH.00222880
ETH.MESH.00754928-ETH.MESH.00754969
ETH.MESH.01419932-ETH.MESH.01419933
ETH.MESH.00754785-ETH.MESH.00754857
ETH.MESH.01418738-ETH.MESH.01419737
ETH.MESH.01591886-ETH.MESH.01591913
ETH.MESH.01592406-ETH.MESH.01592433
ETH.MESH.01592438-ETH.MESH.01592488
ETH.MESH.01592696-ETH.MESH.01592756
ETH.MESH.01592760-ETH.MESH.01592781
ETH.MESH.01592800-ETH.MESH.01592867
ETH.MESH.01592899-ETH.MESH.01593008
ETH.MESH.01593301-ETH.MESH.01593314
ETH.MESH.01593358-ETH.MESH,01593380

z. Mesh product biocompatibility testing records.

ETH.MESH.01316900-ETH.MESH.01316899
ETH.MESH.01309984-ETH.MESH.01309984
ETH.MESH.01409564-ETH.MESH.01409602
ETH.MESH.01409820-ETH.MESH.01409849
ETH.MESH.00222475-ETH.MESH.00222577
ETH.MESH.01419742-ETH.MESH.01419745
ETH.MESH.00348897-ETH.MESH.00348899
ETH.MESH.0075444 1-ETH.MESH.00754442
ETH.MESH.01320389-ETH.MESH.01320394
ETH.MESH.01413955-ETH.MESH.01414252

Document Request No. 6: All documents concerning your protocol or standard
operating procedures (SOP) not listed in number 3 above for:
a. Your design and development department;
b. Your risk management department;
c. Your quality assurance department; and

d, Testing and Validation of the Devices.

28

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 30 of 80 PagelD #: 6453

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 29 of 32 PagelD #: 5615

Responses and Objections to Document Request No. 6: Defendants object that this

request is overbroad and unduly burdensome. The design and development of the Devices were
long term projects, taking a total of more than a dozen years from TVT to TVT Exact and
Abbrevo, Thus, the Standard Operating Procedures associated with each device were revised
multiple times over the course of this time period. Defendants object that this request is
dramatically overbroad since there will be numerous standard operating procedures applicable to
the design of the Devices that have no bearing on this litigation.

Subject to and without waiving any objections, Defendants will produce documents that
may be responsive to this request, to the extent such documents are reasonably available to
Defendants. Below are the Bates ranges of previously produced documents that Defendants
believe are responsive to each subpart of this request:

a. Your design and development department;
ETH.MESH.0374 1952-ETH.MESH.03741953
ETH.MESH.03742863-ETH.MESH.03742863
ETH.MESH.05405810-ETH.MESH.05405832

b. Your risk management department;
ETH.MESH.037405 12-ETH.MESH.03740522
ETH.MESH.03742021-ETH.MESH.03742031
ETH.MESH.03742996-ETH.MESH.03743005

c. Your quality assurance department; and
ETH.MESH.03739207-ETH.MESH.0373921 1
ETH.MESH.03739350-ETH.MESH.03739355
ETH.MESH.03743412-ETH.MESH.03743435
ETH.MESH.03743537-ETH.MESH.0374355 1
ETH.MESH.03743627-ETH.MESH.03743635
ETH.MESH.03743636-ETH.MESH.03743644
ETH.MESH.03743654-ETH.MESH.03743663
ETH.MESH.03743688-ETH.MESH.03743694
ETH.MESH.03743695-ETH.MESH.03743698

29
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 31 of 80 PagelD #: 6454

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 30 of 32 PagelD #: 5616

ETH.MESH.03743699-ETH.MESH.03743704
ETH.MESH.03743708-ETH.MESH.03743723
ETH.MESH.03744330-ETH.MESH.03744353
ETH.MESH.03744358-ETH.MESH.03744358
ETH.MESH.03744359-ETH.MESH.03744359
ETH,.MESH.03744360-ETH.MESH.03744360
ETH.MESH.03744361-ETH.MESH.03744361
ETH.MESH.03744362-ETH.MESH.03744362
ETH,.MESH.03744363-ETH.MESH.03744363
ETH.MESH.03744364-ETH.MESH.03744364
ETH.MESH.03744365-ETH.MESH.03744365
ETH.MESH.03744366-ETH.MESH.03744366
ETH.MESH.03744367-ETH.MESH.03744367
ETH.MESH.03744368-ETH.MESH.03744368
ETH.MESH.03744369-ETH.MESH.03744383
ETH.MESH.03744385-ETH.MESH.03744389
ETH.MESH.03744464-ETH.MESH.03744465
ETH.MESH.03744466-ETH.MESH.03744466
ETH.MESH.03744467-ETH.MESH.03744467

d. Testing and Validation of the Devices.
Defendants will continue to search to determine whether any documents responsive to
this Request have been produced or should be produced and invite Plaintiffs to meet and confer

on this issue.

Respectfully submitted,

ETHICON, INC. AND
JOHNSON & JOHNSON

/s/ David B. Thomas
David B. Thomas (W. Va. Bar No. 3731)
Thomas Combs & Spann, PLLC

300 Summers Street, Suite 1380

P.O. Box 3824

Charleston, WV 25338-3824

(304) 414-1800

30
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 32 of 80 PagelD #: 6455 —

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 31 of 32 PagelD #: 5617

/s/ Christy D. Jones

Christy D. Jones

Butler, Snow, O’Mara, Stevens & Cannada, PLLC
1020 Highland Colony Parkway

Suite 1400 (39157)

P.O. Box 6010

Ridgeland, MS 39158-6010

(601) 985-4523

31

Case 2:12-md-02327° Document 584-1 Filed 05/09/13 Page 33 of 80 PagelD #: 6456

Case 2:12-md-02327 Document 517 Filed 04/10/13 Page 32 of 32 PagelD #: 5618

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

AT CHARLESTON
IN RE: ETHICON, INC, PELVIC REPAIR Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY MDL No. 2327
LIGITATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL U.S. DISTRICT JUDGE
CASES

CERTIFICATE OF SERVICE
I, David B. Thomas, certify that on April 10, 2013, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.

/s/ David B, Thomas

David B. Thomas (W. Va. Bar No. 3731)
Thomas Combs & Spann, PLLC

300 Summers Street, Suite 1380

P.O. Box 3824

Charleston, WV 25338-3824

(304) 414-1800

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 34 of 80 PagelD #: 6457

Case 2:12-md-02327 Document 517-1 Filed 04/10/13 Page 1 of 46 PageiD #: 5619

EXHIBIT A
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 35 of 80 PagelD #: 6458

Clrs2:22 nhOP2327 DCS UBA iksd OKO Page D af Be apefel YS 5E20

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
IN RE: ETHICON, INC., PELVIC Master File No. 2:12-MD-02327
REPAIR SYSTEM PRODUCTS MDL 2327
LIABILITY LITIGATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL U.S, DISTRICT JUDGE
CASES

AMENDED NOTICE TO TAKE ORAL DEPOSITION
OF DEFENDANT THROUGH DESIGNATED WITNESS REGARDING TVT-O

TO: Defendants ETHICON, INC., Johnson & Johnson, Inc., (hereinafter “Defendants”) and
their Attorneys of Record

Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,
Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’
corporate designee regarding TVT-O to begin on May 15, 2013, at 9:00 a.m., at the offices of
Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness shall be
prepared to testify concerning the subject matters identified in Exhibit “A”, attached hereto. The
witness shall produce documents identified in Exhibit “B”, attached hereto, prior to the
deposition. The deposition will be taken before a person authorized by law to administer oaths,
pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day to day until
the examination is completed,

DEFINITIONS
All definitions and rules of instructions set forth in Fed. R. Civ. P. 30(b)(6) shall apply to

all requests for information herein. To the extent a term commonly in use in the medical device
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 36 of 80 PagelD #: 6459

Césse24:2nho22327 DiaonatbLB2 Rind OANA Page 3 of GO Rpg RS S621

industry is not defined herein, it shall be understood to be consistent with the meaning commonly
ascribed to that term in the medical device industry.

1. “Concerning” means referring to, describing, evidencing, or constituting. See LR.
Civ. P, 26.2(c)(7).

2. “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers
to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business entities with
which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary
entity as well as any officer, director, employee, attorney, agent, or representative of any such
other business entity previously described herein.

3. “Document” is synonymous in meaning and equal in scope to the usage of this
term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,
drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations stored in any medium from which information can be obtained either directly or, if
necessary, after translation by you into a reasonably usable form. A draft or non-identical copy
is a separate document. See LR. Civ. P. 26.2(c)(2); see also Fed. R. Civ. P. 34(a).

4. “TVT-O” means the TVT-Obturator device cleared by the FDA on or about
December 08, 2003 which was developed, designed, distributed, licensed, manufactured,
marketed or sold for the treatment of Stress Urinary Incontinence (SUI).

5. “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT-O to the present.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 37 of 80 PagelD #: 6460

Céss2:27-2ahO2F527 DPnoUMaHhYEA Ald MODIS Pages of SP ag +H55b22

PLAINTIFFS’ CO-LEAD COUNSEL

By: /s/Thomas P, Cartmell
THOMAS P. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1100
Fax 816-531-2372
tcartmell@wellp.com

D,. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 38 of 80 PagelD #: 6461

Céss2:24-IrnhO2@327 Diaomeatb4RA Filed OVO Page 5 of Pagel 5 S823

EXHIBIT “A”
DEPOSITION SUBJECT MATTER
Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge of and shall be able to
testify concerning the following subject matters related to “TVT-O” defined in Paragraph 4 of

Notice of Deposition:
I. DESIGN AND DEVELOPMENT OF MESH PRODCUTS

a. The Standard Operating Procedures (SOP) associated with design and
development of TVT-O;

b. The complete design history file for TVT-O, including each component
part of the file, the custodian responsible for the file and the maintenance of the file;

c. Members and procedures of the Product Development Team for TVT-O;
d. The Operating Procedures associated with Product Development Cycle;
e, The Design Output file, including the specifications of the TVT-O;

f. The user needs and design requirements for the TVT-O;

g. The Cadaver Lab evaluations for the TVT-O;

h, The specifics of all testing related to the TVT-O during the design and
development stages, including but not limited to bench testing, porosity testing, particle
loss, fraying, degradation, and leaching;

i. All project names of the TVT-O;
j. Design verification of the TVT-O;
k, Design validation of the TVT-O;

1, The Design Review, Process Qualification (PQ) and Design Transfer for
the TVT-O;

m. The Product Device Design Safety Assessment (DDSA) and the policies
and procedures related to these analyses;

n. Product Device Design Failure Modes Effects Analysis (FMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects
Analysis (@FMEA);
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 39 of 80 PagelD #: 6462

Césse 24 2AnhO22327 DAnaumarb4BA Ali ODN Page Ss of AO aad 155024

0. The Product Device Design Requirements Matrix;

p. The Product Device Qualitative and Quantitative Characteristics
Worksheets, including but not limited to Hazard Worksheet and ranking tables;

q. The Clinical Validation Test Reports;Procedures for preparing and
keeping Minutes and Agendas for Design Review Meetings;

t. As it relates to design control and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in
and/or fund any clinical registries regarding your TVT-O;

s. Any patents related to the TVT-O and its predecessor mesh products;

t. The identity of and financial compensation paid to any consultants
retained during the design and development of the TVT-O;

u. The monitoring, investigation and evaluation of post-marketing adverse
event reports for your TVT-O for design issues;

v. The monitoring, evaluation and utilization of unpublished and/or
published medical literature regarding your TVT-O for design issues;

Ww. As it relates to design control and validation, the investigation, evaluation
and determination as to whether there is an association between the design of TVT-O and
any adverse event experienced by patients who were provided your TVT-O;

x, The investigation, evaluation and determination as to whether there is a
causal connection between the design of your TVT-O and any adverse event or injuries;

. The substantive design and approval of package inserts, IFUs, and other
labeling for your TVT-O (both U.S. and foreign), including the specific dates of use for
each such items and any design changes thereto;

il, The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to its TVT-O from the date first started
developing its TVT-O until the present;

Ji The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications
of your TVT-O, from the date Ethicon, Inc. first started developing TVT-O until the
present;

kk. As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma
radiation/sterilization;
-- - Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 40 of 80 PagelD #: 6463

Céss@:22.InchO22327 DPaoumehUBA Filled DN Page ¢ of PO kgeE S525

Z. The identity of the individuals involved the defendants’ original decision
to design, develop and manufacture the TVT-O;

aa. All medical assessments of the TVT-O as it relates to the design control
and validation process;

bb. The specifics of all clinical, preclinical, and medical testing related to the
TVT-O during the design and development stages;

ce. Animal Testing Records for Biocompatibility as part of the design of the
product;

dd, ‘The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding your TVT-O;

ee. The development and coordination of any pre-clinical studies, clinical
trials and design testing regarding your TVT-O;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 41 of 80 PagelD #: 6464

Céss2 4A 2ah@D2327 DPE 484 ied OVD Page B af 8 dpe 465626

EXHIBIT “B”

DOCUMENT REQUESTS
Please produce:
1. All documents relied upon by the deponent in preparing for this deposition.
2. Two exemplar products for all products listed in “T'VT-O” definition above.

3, Prototype meshes and samples/pathology/histopathology slides of all pathology
testing on TVT-O.

4. All documents concerning corporate, departmental, and employee organizational
charts for your design and development department, product development or product cycle
teains.

5, The following documents for the design and development of TVT-O, including
but not limited to:

a, The Clinical Expert reports;

b. Each version of the Device Design Safety Assessment (DDSA’s); Each
version of the Design Failure Modes Effects Analysis ((FMEAs), Process Failure Modes
Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis (a@FMEA),

c, Operating Procedures for Failure Modes and Effects Analysis;

d. Operating Procedure for Device Design Safety Assessment;

e, Design history files;

f. Design and specifications of equipment used in the production of TVT-O;
g. Design and specifications of packaging used in the production of TVT-O;

h. Specifications regarding sanitization and sterilization of TVT-O, plant
facilities and plant equipment;

i. Mesh Specifications;

j. Franchise procedure for medical device risk management plan;

k. Company procedure for medical device risk management plan;

I. Work Instruction for device risk management;

m. The Franchise procedure for the control and disposition of nonconforming
product;

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 42 of 80 PagelD #: 6465

Cass 24-2nnhOo2232 7 Donoumnarsh 46a Aled OVODNS Page 9 of PO aaeey +5 S627

n, All company policies and procedures that apply to or relate to the Design
History File;
0, The Franchise Procedure for Corrective and Preventative Action (CAPA)

as well as any other company policies and procedures related to CAPAs;
p. Risk management plans and reports for TVT-O;
q. Members of product development team(s);
r. Operating procedures associated with a product development cycle;
Ss. TVT-O quality manual;
t. TVT-O quality plan;
u. Management responsibilities under a quality system;

Vv. Mesh product design review, design verification, process qualification and
design transfer;

wW. Mesh product device design requirements matrix;

x. Mesh product qualitative and quantitative characteristics worksheets,
including but not omitted to hazard worksheet raking tables;

y. Mesh product validation test reports; and
Z. Mesh product biocompatibility testing records;
6. All documents concerning your protocol or standard operating procedures (SOP)

not listed in number 3 above for:

a. Your design and development department;
b. Your risk management department;
c. Your quality assurance department; and

d, Testing and Validation of TVT-O.

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 43 of 80 PagelD #: 6466

CaBat: D21incin02G272 DdboowneS4SB Filed 04/02/13 Page 1Oobti4BagaifeiD 38628

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
X
IN RE ETHICON, INC., PELVIC REPAIR : CIVIL ACTION NO. 2:12-md-02327

SYSTEM PRODUCTS LIABILITY : MDL No, 2327
LITIGATION :

Judge Joseph R. Goodwin
This Document Applies To All Actions

x

To: Christy D. Jones, Esq.
Butler, Snow, O’Mara Stevens & Cannada, PLLC
1020 Highland Colony Parkway, Suite 1400
Ridgeland, MS 39157
601-948-5711

PLAINTIFFS’ CERTIFICATE OF SERVICE OF
AMENDED NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
THROUGH DESIGNATED WITNESS REGARDING TVT-O

ee eee

I hereby certify that on April 2. 2013, I served Plaintiff's Amended Notice to Take Oral
Deposition of Defendant through Designated Witness regarding TVT-O via email and the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the CM/ECF participants registered to receive service in this

MDL.

By: /s/Thomas P. Cartmell
THOMAS P, CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1102
Fax 816-531-2372
teartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholiz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 ‘Filed 05/09/13 - Page 44 of 80 PagelD #: 6467

CaBace 22102232 7Ddronmnesil4s4 Filed 04/00/13 Page Lob basdgatjels #38429

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
IN RE: ETHICON, INC., PELVIC Master File No. 2:12-MD-02327
REPAIR SYSTEM PRODUCTS MDL 2327
LIABILITY LITIGATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL U.S, DISTRICT JUDGE
CASES

AMENDED NOTICE TO TAKE ORAL DEPOSITION
OF DEFENDANT THROUGH DESIGNATED WITNESS REGARDING TVT-A

TO: Defendants ETHICON, INC., Johnson & Johnson, Inc., (hereinafter “Defendants”) and
their Attorneys of Record

Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,
Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’
corporate designee regarding TVT-A to begin on May 15, 2013, at 9:00 a.m., at the offices of
Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness shafl be
prepared to testify concerning the subject matters identified in Exhibit “A”, attached hereto. The
witness shall produce documents identified in Exhibit “B”, attached hereto, prior to the
deposition, The deposition will be taken before a person authorized by law to administer oaths,
pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day to day until
the examination is completed.

DEFINITIONS

All definitions and rules of instructions set forth in Fed. R. Civ. P. 30(b)(6) shall apply to

all requests for information herein. To the extent a term commonly in use in the medical device
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 45 of 80 PagelD #: 6468

CaSask P2imaind2G2F2 Ddhooume sizes Aled 04/00/13 Page Paodbésdgate lB B3B@30

industry is not defined herein, it shall be understood to be consistent with the meaning commonly
ascribed to that term in the medical device industry.

1. “Concerning” means referring to, describing, evidencing, or constituting. See LR.
Civ. P. 26.2(¢)(7).

2. “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers
to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business entities with
which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary
entity as well as any officer, director, employee, attorney, agent, or representative of any such
other business entity previously described herein.

3. “Document” is synonymous in meaning and equal in scope to the usage of this
term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,
drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations stored in any medium from which information can be obtained either directly or, if
necessary, after translation by you into a reasonably usable form. A draft or non-identical copy
is a separate document. See LR. Civ. P. 26.2(c)(2); see also Fed. R. Civ. P. 34(a).

4, “TVT-A” means the TVT-Abbrevo Tension Free Vaginal Tape cleared by the
FDA on or about July 1, 2010 which was developed, designed, distributed, licensed,
manufactured, marketed or sold for the treatment of Stress Urinary Incontinence (SUI).

5. “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT-A to the present.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 46 of 80 PagelD #: 6469

CaéSasé P21 malnd2G292 7Ddhooumesi4ed Filed 04/00/13 Page Boob B4edeatel 638631

PLAINTIFFS’ CO-LEAD COUNSEL

By: /s/Thomas P. Cartmell
THOMAS P, CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1100
Fax 816-531-2372
tcartmell@wellp.com

D,. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 47 of 80 PagelD #: 6470

CaéBask 221i Ruind2G232 Ddiunemesi4et Filed 04/00/13 Page WobB4bageatjelb £38432

EXHIBIT “A”
DEPOSITION SUBJECT MATTER
Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge of and shall be able to
testify concerning the following subject matters related to “TVWT-A” defined in Paragraph 4 of
Notice of Deposition:
1. DESIGN AND DEVELOPMENT OF MESH PRODCUTS

a. The Standard Operating Procedures (SOP) associated with design and
development of TVT-A;

b. The complete design history file for TVT-A, including each component
part of the file, the custodian responsible for the file and the maintenance of the file;

c Members and procedures of the Product Development Team for TVT-A;
d, The Operating Procedures associated with Product Development Cycle;
e& The Design Output file, including the specifications of the TVT-A;

f. The user needs and design requirements for the TVT-A;

g. The Cadaver Lab evaluations for the TVT-A;

h. The specifics of all testing related to the TVT-A during the design and
development stages, including but not limited to bench testing, porosity testing, particle
loss, fraying, degradation, and leaching;

i. All project names of the TVT-A;
j. Design verification of the TVT-A;
k. Design validation of the TVT-A;

1, The Design Review, Process Qualification (PQ) and Design Transfer for
the TVT-A;

m. The Product Device Design Safety Assessment (DDSA) and the policies
and procedures related to these analyses;

n. Product Device Design Failure Modes Effects Analysis (FMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects
Analysis (aFMEA);
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 48 of 80 PagelD #: 6471

CeBast D21mdnd282927Dddonenest48t Filed 04/00/13 Page Siobh4Bagayole 638533

0. The Product Device Design Requirements Matrix;

p. The Product Device Qualitative and Quantitative Characteristics
Worksheets, including but not limited to Hazard Worksheet and ranking tables;

q. The Clinical Validation Test Reports;Procedures for preparing and
keeping Minutes and Agendas for Design Review Meetings;

fr. As it relates to design control and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in
and/or fund any clinical registries regarding your TVT-A;

S. Any patents related to the TVT-A and its predecessor mesh products;

t The identity of and financial compensation paid to any consultants
retained during the design and development of the TVT-A;

u. The monitoring, investigation and evaluation of post-marketing adverse
event reports for your TVT-A for design issues;

Vv. The monitoring, evaluation and utilization of unpublished and/or
published medical literature regarding your TVT-A for design issues;

Ww. As it relates to design control and validation, the investigation, evaluation
and determination as to whether there is an association between the design of TVT-A and
any adverse event experienced by patients who were provided your TVT-A;

x, The investigation, evaluation and determination as to whether there is a
causal connection between the design of your TVT-A and any adverse event or injuries;

y. The substantive design and approval of package inserts, IFUs, and other
labeling for your TVT-A (both U.S. and foreign), including the specific dates of use for
each such items and any design changes thereto;

ii, The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to its TVT-A from the date first started
developing its TVT-A until the present;

ji The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications
of your TVT-A, from the date Ethicon, Inc. first started developing TVT-A until the
present;

kk. As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma
radiation/sterilization;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 49 of 80 PagelD #: 6472

CaSast 22indAeeG272 Dddooumeni47es Filed O4/D0/13 Page BtobB4Bdgetel®. 38634

Z. The identity of the individuals involved the defendants’ original decision
to design, develop and manufacture the TVT-A;

aa, All medical assessments of the TVT-A as it relates to the design control
and validation process;

bb. The specifics of all clinical, preclinical, and medical testing related to the
TVT-A during the design and development stages;

ce. Animal Testing Records for Biocompatibility as part of the design of the
product;

dd. =‘ The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding your TVT-A;

ee. The development and coordination of any pre-clinical studies, clinical
trials and design testing regarding your TVT-A;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 50 of 80 PagelD #: 6473

CeSase D212dn02G2F2 7TDdhocwneHi4sn Filed 04/00/13 Page T/obB4éBagadel®: 638G35

EXHIBIT “B”

DOCUMENT REQUESTS
Please produce:
1. All documents relied upon by the deponent in preparing for this deposition.
2. Two exemplar products for all products listed in “TVT-A” definition above.

3, Prototype meshes and tissue samples/pathology/histopathology slides of all
pathology testing on TVT-A.

4. All documents concerning corporate, departmental, and employee organizational
charts for your design and development department, product development or product cycle
teams.

5. The following documents for the design and development of TVT-A, including

but not limited to:
a. The Clinical Expert reports;

b. Each version of the Device Design Safety Assessment (DDSA’s); Each
version of the Design Failure Modes Effects Analysis ((FMEAs), Process Failure Modes
Effects Analysis (pPFMEAs), Application Failure Modes Effects Analysis (aFMEA);

c. Operating Procedures for Failure Modes and Effects Analysis;

d, Operating Procedure for Device Design Safety Assessment;

e. Design history files;

f. Design and specifications of equipment used in the production of TVT-A;
g. Design and specifications of packaging used in the production of TVT-A;

h, Specifications regarding sanitization and sterilization of TVT-A, plant
facilities and plant equipment;

i. Mesh Specifications;

j. Franchise procedure for medical device risk management plan;

k, Company procedure for medical device risk management plan;

1, Work Instruction for device risk management;

m. The Franchise procedure for the control and disposition of nonconforming
product;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 51 of 80 PagelD #: 6474 .

CdéSast P2imdnd23232 Ddkoommnehl4st Hiled 04/00/13 Page BsobB4edgade le B3B636

n, All company policies and procedures that apply to or relate to the Design
History File;

0. The Franchise Procedure for Corrective and Preventative Action (CAPA)
as well as any other company policies and procedures related to CAPAs;

p. Risk management plans and reports for TVT-A;

q. Members of product development team(s);

fr. Operating procedures associated with a product development cycle;
Ss. TVT-A quality manual;

t. TVT-A quality plan;

u. Management responsibilities under a quality system;

v. Mesh product design review, design verification, process qualification and
design transfer;

Ww. Mesh product device design requirements matrix;

X. Mesh product qualitative and quantitative characteristics worksheets,
including but not omitted to hazard worksheet raking tables;

y. Mesh product validation test reports; and
Z. Mesh product biocompatibility testing records;

6. All documents concerning your protocol or standard operating procedures (SOP)
not listed in number 3 above for:

a. Your design and development department;
b. Your risk management department;
C. Your quality assurance department; and

d. Testing and Validation of TVT-A.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 52 of 80 PagelD #: 6475

CaSast: D2 onG28292 Ddhocueneslzs? Filed 04/00/13 Page 196tl4edgeya ke 649637

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
-- Xx
IN RE ETHICON, INC., PELVIC REPAIR : CIVIL ACTION NO. 2:12-md-02327

SYSTEM PRODUCTS LIABILITY > MDL No. 2327
LITIGATION :

Judge Joseph R. Goodwin
This Document Applies To All Actions

x

To: Christy D. Jones, Esq.
Butler, Snow, O’Mara Stevens & Cannada, PLLC
1020 Highland Colony Parkway, Suite 1400
Ridgeland, MS 39157
601-948-5711

_ PLAINTIFFS’ CERTIFICATE OF SERVICE OF
AMENDED NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
THROUGH DESIGNATED WITNESS REGARDING TVT-A

1 hereby certify that on April 2. 2013, I served Plaintiff's Amended Notice to Take Oral
Deposition of Defendant through Designated Witness regarding TVT-A via email and the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the CM/ECF participants registered to receive service in this

MDL.

By: /s/Thomas P, Cartmell
THOMAS P. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1102
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 53 of 80 PagelD #: 6476

CaSash P2undAae272 Ddzocwmesi4eh Filed 04/00/13 Page 2006B4eagaial® 6338938

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
IN RE: ETHICON, INC., PELVIC Master File No, 2:12-MD-02327
REPAIR SYSTEM PRODUCTS MDL 2327
LIABILITY LITIGATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL U.S. DISTRICT JODGE
CASES

AMENDED NOTICE TO TAKE ORAL DEPOSITION
OF DEFENDANT THROUGH DESIGNATED WITNESS REGARDING TVT-CLASSIC

TO: Defendants ETHICON, INC., Johnson & Johnson, Inc., (hereinafter “Defendants”) and
their Attorneys of Record

Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,
Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’
corporate designee regarding TVT-Classic to begin on May 15, 2013, at 9:00 a.m., at the offices
of Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness shall be
prepared to testify concerning the subject matters identified in Exhibit “A”, attached hereto. The
witness shall produce documents identified in Exhibit “B”, attached hereto, prior to the
deposition. The deposition will be taken before a person authorized by law to administer oaths,
pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day to day until
the examination is completed.

DEFINITIONS

All definitions and rules of instructions set forth in Fed. R. Civ. P. 30(b)(6) shall apply to

all requests for information herein. To the extent a term commonly in use in the medical device
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 54 of 80 PagelD #: 6477

CaBask: DP1nai028232 7Ddbooumesi485 Filed 04/00/13 Page Zi0bB4BAgatalB 39689

industry is not defined herein, it shall be understood to be consistent with the meaning commonly
ascribed to that term in the medical device industry.

1, “Concerning” means referring to, describing, evidencing, or constituting. See LR.
Civ. P. 26.2(c)(7).

2. “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers
to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business entities with
which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary
entity as well as any officer, director, employee, attorney, agent, or representative of any such
other business entity previously described herein.

3. “Document” is synonymous in meaning and equal in scope to the usage of this
term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,
drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations stored in any medium from which information can be obtained either directly or, if
necessary, after translation by you into a reasonably usable form. A draft or non-identical copy
is a separate document, See LR. Civ. P. 26.2(c)(2); see also Fed. R. Civ. P. 34(a).

4, “TVT” means the TVT “classic” Tension Free Vaginal Tape System cleared by
the FDA on or about January 01, 1998, which was developed, designed, distributed, licensed,
manufactured, marketed or sold for the treatment of Stress Urinary Incontinence (SUD. The
term “TVT” also includes any kits or tools designed to be sold with the TVT including, but not
limited to the TVT-AA and TVT-D.

5, “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT to the present.
Case 2:12-md-02327. Document 584-1 Filed 05/09/13 Page 55 of 80 PagelD #: 6478

CaSast® 221aind8232 7Ddhonumnesi4es Filed 04/00/13 Page 2206B4eagaiele 6359440

PLAINTIFFS’ CO-LEAD COUNSEL

By: /s/Thomas P, Cartmell
THOMAS P, CARTMELL
Wagstaff & Cartmel! LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1100
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 56 of 80 PagelD #: 6479

CaSast 22102272 Ddtoousmebtl4ss Filed 04/02/13 Page ZcobB4Bagadja le 639041

EXHIBIT “A”

DEPOSITION SUBJECT MATTER

Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge of and shall be able to
testify concerning the following subject matters related to “TVT” defined in Paragraph 4 of

Notice of Deposition:
I. DESIGN AND DEVELOPMENT OF MESH PRODCUTS

a. The Standard Operating Procedures (SOP) associated with design and
development of TVT;

b. The complete design history file for TVT, including each component part
of the file, the custodian responsible for the file and the maintenance of the file;

C. Members and procedures of the Product Development Team for TVT;
d. The Operating Procedures associated with Product Development Cycle;
e. The Design Output file, including the specifications of the TVT;

f. The user needs and design requirements for the TVT;

g. The Cadaver Lab evaluations for the TVT;

h. The specifics of all testing related to the TVT during the design and
development stages, including but not limited to bench testing, porosity testing, particle
loss, fraying, degradation, and leaching;

i. All project names of the TVT;
j. Design verification of the TVT;
k. Design validation of the TVT;

1. The Design Review, Process Qualification (PQ) and Design Transfer for
the TVT;

m, The Product Device Design Safety Assessment (DDSA) and the policies
and procedures related to these analyses;

n. Product Device Design Failure Modes Effects Analysis ((FMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects
Analysis (@(MEA);
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 57 of 80 PagelD #: 6480

CdSast P21 mdrd2G232 7Ddahooumeni4ss Filed 04/02/13 Page MobB4edgadele £39642

Oo. The Product Device Design Requirements Matrix;

p. The Product Device Qualitative and Quantitative Characteristics
Worksheets, including but not limited to Hazard Worksheet and ranking tables;

q. The Clinical Validation Test Reports;Procedures for preparing and
keeping Minutes and Agendas for Design Review Meetings;

r. As it relates to design control and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in
and/or fund any clinical registries regarding your TVT;

S. Any patents related to the TVT and its predecessor mesh products;

t. The identity of and financial compensation paid to any consultants
retained during the design and development of the TVT;

U. The monitoring, investigation and evaluation of post-marketing adverse
event reports for your TVT for design issues;

Vv. The monitoring, evaluation and utilization of unpublished and/or
published medical literature regarding your TVT for design issues;

Ww, As it relates to design control and validation, the investigation, evaluation
and determination as to whether there is an association between the design of TVT and
any adverse event experienced by patients who were provided your TVT;

X. The investigation, evaluation and determination as to whether there is a
causal connection between the design of your TVT and any adverse event or injuries;

y. The substantive design and approval of package inserts, IFUs, and other
labeling for your TVT (both U.S. and foreign), including the specific dates of use for
each such items and any design changes thereto;

ii, The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to its TVT from the date first started
developing its TVT until the present;

ij. The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications
of your TVT, from the date Ethicon, Inc. first started developing TVT until the present;

kk. As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma
radiation/sterilization;

Z. The identity of the individuals involved the defendants’ original decision
to design, develop and manufacture the TVT;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 58 of 80 PagelD #: 6481 -

CaBas® D2 haid20292 7DdRoowmMeBL7SS Filed 04/02/13 Page BoiB4saQayelp 639443

aa. All medical assessments of the TVT as it relates to the design control and
validation process;

bb. The specifics of all clinical, preclinical, and medical testing related to the
TVT during the design and development stages;

cc. Animal Testing Records for Biocompatibility as part of the design of the
product;

dd. The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding your TVT;

ee. The development and coordination of any pre-clinical studies, clinical
trials and design testing regarding your TVT;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 59 of 80 PagelD #: 6482

CaSask P21 aind2G252 DdRamenest4e5 Filed O4/02/13 Page 7obB4sagetfols 639544

EXHIBIT “B”

DOCUMENT REQUESTS

Please produce:

1. All documents relied upon by the deponent in preparing for this deposition.

2. Two exemplar products for all products listed in “TVT” definition above.

3. Prototype meshes and tissue samples/pathology/histopathology slides of all
pathology testing on TVT.

4, All documents concerning corporate, departmental, and employee organizational
charts for your design and development department, product development or product cycle

teams.

5. The following documents for the design and development of TVT, including but
not limited to:

a. The Clinical Expert reports;

b, Each version of the Device Design Safety Assessment (DDSA’s); Each
version of the Design Failure Modes Effects Analysis ((FMEAs), Process Failure Modes
Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis (aFMEA);

c. Operating Procedures for Failure Modes and Effects Analysis;

d. Operating Procedure for Device Design Safety Assessment;

e Design history files;

f. Design and specifications of equipment used in the production of TVT;
g. Design and specifications of packaging used in the production of TVT;

h. Specifications regarding sanitization and_ sterilization of TVT, plant
facilities and plant equipment;

i, Mesh Specifications;

j. Franchise procedure for medical device risk management plan;

k, Company procedure for medical device risk management plan,

L Work Instruction for device risk management;

m. The Franchise procedure for the control and disposition of nonconforming
product;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 60 of 80 PagelD #: 6483

CaSasé P2imdAd2G2s2 (Ddloomesti4ss Filed 04/02/13 Page B7obB4éBagadal®B: 6239645

n, All company policies and procedures that apply to or relate to the Design
History File;
0, The Franchise Procedure for Corrective and Preventative Action (CAPA)

as well as any other company policies and procedures related to CAPAs;

p. Risk management plans and reports for TVT;
q. Members of product development team(s);
tr, Operating procedures associated with a product development cycle;

Ss. TVT quality manual;
t. TVT quality plan;
u. Management responsibilities under a quality system;

Vv. Mesh product design review, design verification, process qualification and
design transfer;

Ww. Mesh product device design requirements matrix;

Xx. Mesh product qualitative and quantitative characteristics worksheets,
including but not omitted to hazard worksheet raking tables;

y. Mesh product validation test reports; and
Ze Mesh product biocompatibility testing records;
6. All documents concerning your protocol or standard operating procedures (SOP)

not listed in number 3 above for:

a. Your design and development department;
b. Your risk management department;
C. Your quality assurance department; and

d. Testing and Validation of TVT.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 61 of 80 PagelD #: 6484

CaSast R21 malnd7G2F2 PdLoommesl4ss Filed 04/00/13 Page 2Sbfl4sagata le. £40646

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
x
IN RE ETHICON, INC., PELVIC REPAIR >: CIVIL ACTION NO. 2:12-md-02327

SYSTEM PRODUCTS LIABILITY > MDL No. 2327
LITIGATION :

Judge Joseph R. Goodwin
This Document Applies To All Actions

~ X

To: Christy D. Jones, Esq.
Butler, Snow, O’Mara Stevens & Cannada, PLLC
1020 Highland Colony Parkway, Suite 1400
Ridgeland, MS 39157
601-948-5711

PLAINTIFFS’ CERTIFICATE OF SERVICE OF
AMENDED NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
THROUGH DESIGNATED WITNESS REGARDING TVT-CLASSIC

I hereby certify that on April 2. 2013, I served Plaintiff's Amended Notice to Take Oral
Deposition of Defendant through Designated Witness regarding TVT-Classic via email and the
foregoing document was electronically filed with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the CM/ECF participants registered to receive service

in this MDL.

By: /s/Thomas P. Cartmell
THOMAS P, CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1102
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 62 of 80 PagelD #: 6485

CaSasé P21 haAdeG272 Dddoomnesi4zss Filed 04/02/13 Page a:bB4eagade lB £39647

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
IN RE: ETHICON, INC., PELVIC Master File No. 2:12-MD-02327
REPAIR SYSTEM PRODUCTS MDL 2327
LIABILITY LITIGATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL US. DISTRICT JUDGE
CASES

AMENDED NOTICE TO TAKE ORAL DEPOSITION
OF DEFENDANT THROUGH DESIGNATED WITNESS REGARDING TVT-S

TO: Defendants ETHICON, INC., Johnson & Johnson, Inc., (hereinafter “Defendants”) and
their Attorneys of Record

Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,
Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’
corporate designee regarding TVT-S to begin on May 15, 2013, at 9:00 a.m., at the offices of
Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness shall be
prepared to testify concerning the subject matters identified in Exhibit “A”, attached hereto. The
witness shall produce documents identified in Exhibit “B”, attached hereto, prior to the
deposition. The deposition will be taken before a person authorized by law to administer oaths,
pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day to day until
the examination is completed.

DEFINITIONS
All definitions and rules of instructions set forth in Fed. R. Civ. P. 30(b)(6) shall apply to

all requests for information herein. To the extent a term commonly in use in the medical device
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 63 of 80 PagelD #: 6486

CdSast D2iauind23232 7Ddhoomnesi4s86 Filed 04/00/13 Page 20bB4eagada lB. 39648

industry is not defined herein, it shall be understood to be consistent with the meaning commonly
ascribed to that term in the medical device industry.

1. “Concerning” means referring to, describing, evidencing, or constituting. See LR.
Civ. P. 26.2(c}(7).

2. “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers
to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business entities with
which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary
entity as well as any officer, director, employee, attorney, agent, or representative of any such
other business entity previously described herein.

3, “Document” is synonymous in meaning and equal in scope to the usage of this
term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,
drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations stored in any medium from which information can be obtained either directly or, if
necessary, after translation by you into a reasonably usable form. A draft or non-identical copy
is a separate document. See LR. Civ. P. 26,2(c)(2); see also Fed. R. Civ. P. 34(a).

4, “TVT-S” means the TVT-Secur device cleared by the FDA on or about
November 28, 2005 which was developed, designed, distributed, licensed, manufactured,
marketed or sold for the treatment of Stress Urinary Incontinence (SUD).

5. “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT-S to the present.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 64 of 80 PagelD #: 6487

CeSace P2imtad20232 7Ddaoowmesl486 Filed 04/02/13 Page DlobBésdgadelB 635649

PLAINTIFFS’ CO-LEAD COUNSEL

By: /s/Thomas P, Cartmell
THOMAS P,. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1100
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 65 of 80 PagelD #: 6488

CdSask D2itinoeG2752 (drone nl4ss Filed 04/02/13 Page a200b4eagaie lB £45650

EXHIBIT “A”

DEPOSITION SUBJECT MATTER

Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge of and shall be able to
testify concerning the following subject matters related to “TVT-S” defined in Paragraph 4 of
Notice of Deposition:

L DESIGN AND DEVELOPMENT OF MESH PRODCUTS

a. The Standard Operating Procedures (SOP) associated with design and
development of TVT-S;

b. The complete design history file for TVT-S, including each component
part of the file, the custodian responsible for the file and the maintenance of the file;

C. Members and procedures of the Product Development Team for TVT-S;
d. The Operating Procedures associated with Product Development Cycle;
€. The Design Output file, including the specifications of the TVT-S;

f. The user needs and design requirements for the TVT-S;

g. The Cadaver Lab evaluations for the TVT-S;

h. The specifics of all testing related to the TVT-S during the design and
development stages, including but not limited to bench testing, porosity testing, particle
loss, fraying, degradation, and leaching;

i. All project names of the TVT-S;
J Design verification of the TVT-S;
k, Design validation of the TVT-S;

I, The Design Review, Process Qualification (PQ) and Design Transfer for
the TVT-S;

m. The Product Device Design Safety Assessment (DDSA) and the policies
and procedures related to these analyses;

n, Product Device Design Failure Modes Effects Analysis ((FMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects
Analysis (@FMEA);
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 66 of 80 PagelD #: 6489

CaSash P2imadnd2e2F2 7Ddhoowneshti4s6 Filed 64/02/13 Page ScobB4edgatiol® BAba51

0. The Product Device Design Requirements Matrix;

p. The Product Device Qualitative and Quantitative Characteristics
Worksheets, including but not limited to Hazard Worksheet and ranking tables;

q. The Clinical Validation Test Reports;Procedures for preparing and
keeping Minutes and Agendas for Design Review Meetings;

r. As it relates to design control and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in
and/or fund any clinical registries regarding your TVT-S;

S. Any patents related to the TVT-S and its predecessor mesh products.

t. The identity of and financial compensation paid to any consultants
retained during the design and development of the TVT-S;

u. The monitoring, investigation and evaluation of post-marketing adverse
event reports for your TVT-S for design issues;

v. The monitoring, evaluation and utilization of unpublished and/or
published medical literature regarding your TVT-S for design issues;

Ww. As it relates to design control and validation, the investigation, evaluation
and determination as to whether there is an association between the design of TVT-S and
any adverse event experienced by patients who were provided your TVT-S;

Xx. The investigation, evaluation and determination as to whether there is a
causal connection between the design of your TVT-S and any adverse event or injuries;

y. The substantive design and approval of package inserts, IFUs, and other
labeling for your TVT-S (both U.S. and foreign), including the specific dates of use for
each such items and any design changes thereto;

il. The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to its TVT-S from the date first started
developing its TVT-S until the present;

ji- The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications
of your TVT-S, from the date Ethicon, Inc, first started developing TVT-S until the
present,

kk. As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma
radiation/sterilization;

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 67 of 80 PagelD #: 6490

CaéSasé 22imdneeG2F2 Ddhaoeneoi486 Filed O4/02/13 Page Mobb4éBagadiele BAAS2

Zz. The identity of the individuals involved the defendants’ original decision
to design, develop and manufacture the TVT-S;

aa. All medical assessments of the TVT-S as it relates to the design control
and validation process;

bb. The specifics of all clinical, preclinical, and medical testing related to the
TVT-S during the design and development stages;

ce. Animal Testing Records for Biocompatibility as part of the design of the
product;

dd. ‘The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding your TVT-S;

ee. The development and coordination of any pre-clinical studies, clinical
trials and design testing regarding your TVT-S;

Case 2:12-md-02327. Document 584-1 Filed 05/09/13 . Page 68 of 80 PagelD #: 6491

CaSast P2igane2G292 Ddhocument486 Filed 04/00/13 Page ShobBAbagadia le BAHGS3

EXHIBIT “B”
DOCUMENT REQUESTS
Please produce:
1. All documents relied upon by the deponent in preparing for this deposition.
2, Two exemplar products for all products listed in “TVT-S” definition above.

3, Prototype meshes and tissue samples/pathology/histopathology slides of all
pathology testing on TVT-S.

4, All documents concerning corporate, departmental, and employee organizational
charts for your design and development department, product development or product cycle
teams.

5, The following documents for the design and development of TVT-S, including
but not limited to:

a. The Clinical Expert reports;

b. Each version of the Device Design Safety Assessment (DDSA’s); Each
version of the Design Failure Modes Effects Analysis (AFMEAs), Process Failure Modes
Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis (a@FMEA),

C. Operating Procedures for Failure Modes and Effects Analysis;

d. Operating Procedure for Device Design Safety Assessment,

€. Design history files;

f. Design and specifications of equipment used in the production of TVT-S;

g. Design and specifications of packaging used in the production of TVT-S;

h, Specifications regarding sanitization and sterilization of TVT-S, plant
facilities and plant equipment;

i. Mesh Specifications;

j. Franchise procedure for medical device risk management plan;

k, Company procedure for medical device risk management plan;

I. Work instruction for device risk management;

m. — The Franchise procedure for the control and disposition of nonconforming
product;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 69 of 80 PagelD #: 6492

CaBach D2tcind28292 7Ddhaoumes1486 Filed 04/00/13 Page BoobbABaQada ke 645054

n. All company policies and procedures that apply to or relate to the Design
History File;

0. The Franchise Procedure for Corrective and Preventative Action (CAPA)
as well as any other company policies and procedures related to CAPAs;

p. Risk management plans and reports for TVT-S;

q. Members of product development team(s);

r. Operating procedures associated with a product development cycle;
s. TVT-S quality manual;

t. TVT-S quality plan;

u. Management responsibilities under a quality system;

Vv. Mesh product design review, design verification, process qualification and
design transfer;

w, Mesh product device design requirements matrix;

Xx. Mesh product qualitative and quantitative characteristics worksheets,
including but not omitted to hazard worksheet raking tables;

y. Mesh product validation test reports; and
Z. Mesh product biocompatibility testing records;
6. All documents concerning your protocol or standard operating procedures (SOP)

not listed in number 3 above for:

a, Your design and development department;
b. Your risk management department;
C. Your quality assurance department; and

d. Testing and Validation of TVT-S.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 70 of 80 PagelD #: 6493

CaBas P24hdn023292 7DdkocumestiZ9D Filed 04/00/13 Page 27obtl4Bagedale. £45655

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
x
IN RE ETHICON, INC., PELVIC REPAIR : CIVIL ACTION NO, 2;12-md-02327

SYSTEM PRODUCTS LIABILITY : MDL No. 2327
LITIGATION :

Judge Joseph R. Goodwin
This Document Applies To All Actions

To: Christy D. Jones, Esq.
Butler, Snow, O’Mara Stevens & Cannada, PLLC
1020 Highland Colony Parkway, Suite 1400
Ridgeland, MS 39157
601-948-5711

PLAINTIFFS’ CERTIFICATE OF SERVICE OF
AMENDED NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
THROUGH DESIGNATED WITNESS REGARDING TVT-S

I hereby certify that on April 2, 2013, I served Plaintiff's Amended Notice to Take Oral
Deposition of Defendant through Designated Witness regarding TVT-S via email and the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the CM/ECF participants registered to receive service in this

MDL.

By: /s/Thomas P, Cartmell
THOMAS P. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1102
Fax 816-531-2372
tcartmell@wellp.com

D, RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 71 of 80 PagelD.#: 6494

CaSas®: 221mand202327Ddhocumesizo Filed O4/0G/13 Page 2600B4Bdgai—1B. 649656

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
IN RE: ETHICON, INC., PELVIC Master File No. 2:12-MD-02327
REPAIR SYSTEM PRODUCTS MDL 2327
LIABILITY LITIGATION
JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL US. DISTRICT JUDGE
CASES

AMENDED NOTICE TO TAKE ORAL DEPOSITION
OF DEFENDANT THROUGH DESIGNATED WITNESS REGARDING TVT-E

TO: Defendants ETHICON, INC., Johnson & Johnson, Inc., (hereinafter “Defendants”) and
its Attorneys of Record

Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,
Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’
corporate designee regarding TVT-E to begin on May 15, 2013, at 9:00 a.m., at the offices of
Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness shall be
prepared to testify concerning the subject matters identified in Exhibit “A”, attached hereto. The
witness shall produce documents identified in Exhibit “B”, attached hereto, prior to the
deposition. The deposition will be taken before a person authorized by law to administer oaths,
pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day to day until
the examination is completed.

DEFINITIONS

All definitions and rules of instructions set forth in Fed, R. Civ. P. 30(b)(6) shall apply to

all requests for information herein. To the extent a term commonly in use in the medical device
Case 2:12-md-02327. Document 584-1 Filed 05/09/13 Page 72 of 80 PagelD #: 6495

Casas DriinadineeG232 7dbonenest4o1 Aled O4/01G/13 Page 2obB4Bagadial® 845657

industry is not defined herein, it shall be understood to be consistent with the meaning commonly
ascribed to that term in the medical device industry.

1. “Concerning” means referring to, describing, evidencing, or constituting. See LR.
Civ. P, 26.2(c){(7).

2. “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers
to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business entities with
which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary
entity as well as any officer, director, employee, attorney, agent, or representative of any such
other business entity previously described herein.

3. “Document” is synonymous in meaning and equal in scope to the usage of this
term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,
drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations stored in any medium from which information can be obtained either directly or, if
necessary, after translation by you into a reasonably usable form. A draft or non-identical copy
is a separate document. See LR. Civ. P. 26.2(c)(2); see also Fed. R. Civ. P. 34(a).

4, “TVT-E” means the TVT-Exact device cleared by the FDA on or about March
16, 2010, which was developed, designed, distributed, licensed, manufactured, marketed or sold
for the treatment of Stress Urinary Incontinence (SUI).

5, “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT-E to the present.
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 73 of 80 PagelD #: 6496

CaSast 221m dnd23252 DdRonenes491 Filed 04/02/13 Page 40obPéRdQayalm B4AG58

PLAINTIFFS’ CO-LEAD COUNSEL

By: /s/Thomas P. Cartmell
THOMAS P. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1100
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 74 of 80 PagelD #: 6497

CaSase D2imaind2eZ2F2 Ddeooene S491 Filed 04/00/13 Page 4lobB4éBagadalB 849459

EXHIBIT “A”

DEPOSITION SUBJECT MATTER

Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge of and shall be able to
testify concerning the following subject matters related to “TVT-E” defined in Paragraph 4 of

Notice of Deposition:
I, DESIGN AND DEVELOPMENT OF MESH PRODCUTS

a. The Standard Operating Procedures (SOP) associated with design and
development of TVT-E;

b. The complete design history file for TVT-E, including each component
part of the file, the custodian responsible for the file and the maintenance of the file;

c. Members and procedures of the Product Development Team for TVT-E;
d. The Operating Procedures associated with Product Development Cycle;
e. The Design Output file, including the specifications of the TVT-E;

f. The user needs and design requirements for the TVT-E;

g. The Cadaver Lab evaluations for the TVT-E;

h. The specifics of all testing related to the TVT-E during the design and
development stages, including but not limited to bench testing, porosity testing, particle
loss, fraying, degradation, and leaching;

i. All project names of the TVT-E;
j- Design verification of the TVT-E;
k. Design validation of the TVT-E;

1, The Design Review, Process Qualification (PQ) and Design Transfer for
the TVT-E;

m. The Product Device Design Safety Assessment (DDSA) and the policies
and procedures related to these analyses;

n. Product Device Design Failure Modes Effects Analysis ((FMEA), Process
Failure Modes Effects Analysis (pFMEA) and Application Failure Modes Effects
Analysis (aFMEA);
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 75 of 80 PagelD #: 6498

CaSash D2thano2G272 DddocumeS0791 Filed 04/08/13 Page Sa0B4Bagnda IB 844860

Oo. The Product Device Design Requirements Matrix;

p. The Product Device Qualitative and Quantitative Characteristics
Worksheets, including but not limited to Hazard Worksheet and ranking tables;

q. The Clinical Validation Test Reports;Procedures for preparing and
keeping Minutes and Agendas for Design Review Meetings;

t. As it relates to design contro! and validation, any and all discussions or
documents related to whether or not to design, develop, coordinate, create, participate in
and/or fund any clinical registries regarding your TVT-E;

Ss. Any patents related to the TVT-E and its predecessor mesh products;

t. The identity of and financial compensation paid to any consultants
retained during the design and development of the TVT-E;

u. The monitoring, investigation and evaluation of post-marketing adverse
event reports for your TVT-E for design issues;

Vv. The monitoring, evaluation and utilization of unpublished and/or
published medical literature regarding your TVT-E for design issues;

Ww. As it relates to design control and validation, the investigation, evaluation
and determination as to whether there is an association between the design of TVT-E and
any adverse event experienced by patients who were provided your TVT-E;

x, The investigation, evaluation and determination as to whether there is a
causal connection between the design of your TVT-E and any adverse event or injuries;

y. The substantive design and approval of package inserts, IFUs, and other
labeling for your TVT-E (both U.S. and foreign), including the specific dates of use for
each such items and any design changes thereto;

ii. The maintenance of Ethicon Inc.’s finances, budgets and expenditures
with regard to design and development related to its TVT-E from the date first started
developing its TVT-E until the present;

Ji The interaction and communication internally or with any outside
consultants regarding the design specifications, including conformance to specifications
of your TVT-E, from the date Ethicon, Inc. first started developing TVT-E until the
present;

kk. As they relate to design control and validation, the manufacturing
processes, including but not limited to heating/extrusion/annealing/cooling/gamma
radiation/sterilization;

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 76 of 80 PagelD #: 6499

CaSase VeimineeG232 Ddtonwmesd49ol Filed 04/00/13 Page 4d6B4Bdq ates 249461

Z. The identity of the individuals involved the defendants’ original decision
to design, develop and manufacture the TVT-E;

aa. All medical assessments of the TVT-E as it relates to the design control
and validation process;

bb. The specifics of all clinical, preclinical, and medical testing related to the
TVT-E during the design and development stages;

cc. Animal Testing Records for Biocompatibility as part of the design of the
product;

dd. The evaluation of data and results of any pre-clinical studies, clinical trials
and testing regarding your TVT-E;

ee, The development and coordination of any pre-clinical studies, clinical
trials and design testing regarding your TVT-E;
Case -2:12-md-02327 Document 584-1 Filed 05/09/13 Page 77 of 80 PagelD #: 6500

CaSask& D2iatAd2G272 7Ddaoowmnebti791 Filed 04/00/13 Page 74obB4éBdgadel® #41662

EXHIBIT “B”

DOCUMENT REQUESTS

Please produce:

1, All documents relied upon by the deponent in preparing for this deposition,

2. Two exemplar products for all products listed in “TVT-E” definition above.

3. Prototype meshes and tissue samples/pathology/histopathology slides of all
pathology testing on TVT-E.

4, All documents concerning corporate, departmental, and employee organizational
charts for your design and development department, product development or product cycle

teams.

5. The following documents for the design and development of TVT-E, including
but not limited to:

a. The Clinical Expert reports;

b, Each version of the Device Design Safety Assessment (DDSA’s); Each
version of the Design Failure Modes Effects Analysis ((FMEAs), Process Failure Modes
Effects Analysis (pFMEAs), Application Failure Modes Effects Analysis (aFMEA);

c. Operating Procedures for Failure Modes and Effects Analysis;

d. Operating Procedure for Device Design Safety Assessment;

e. Design history files;

f. Design and specifications of equipment used in the production of TVT-E;
g. Design and specifications of packaging used in the production of TVT-E;

h. Specifications regarding sanitization and sterilization of TVT-E, plant
facilities and plant equipment;

i, Mesh Specifications;

j. Franchise procedure for medical device risk management plan;
k. Company procedure for medical device risk management plan;
1. Work Instruction for device risk management;

m, The Franchise procedure for the control and disposition of nonconforming
product;
Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 78 of 80 PagelD #: 6501

CdSast D2imaia02G232 7Ddhoomme si791 Filed O4/0G/13 Page sobB4éedQadaD 845663

n. All company policies and procedures that apply to or relate to the Design
History File;
0, The Franchise Procedure for Corrective and Preventative Action (CAPA)

as well as any other company policies and procedures related to CAPAs;

p. Risk management plans and reports for TVT-E;
q. Members of product development team(s);
r. Operating procedures associated with a product development cycle;

S. TVT-E quality manual;
t. TVT-E quality plan;
u. Management responsibilities under a quality system;

Vv. Mesh product design review, design verification, process qualification and
design transfer;

Ww. Mesh product device design requirements matrix;

Xx. Mesh product qualitative and quantitative characteristics worksheets,
including but not omitted to hazard worksheet raking tables;

y- Mesh product validation test reports; and
Z. Mesh product biocompatibility testing records;
6. All documents concerning your protocol or standard operating procedures (SOP)

not listed in number 3 above for:

a. Your design and development department;
b. Your risk management department;
c. Your quality assurance department; and

d. Testing and Validation of TVT-E.

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 79 of 80 PagelD #: 6502

CaSask D2imaioeG232 Ddbonenesil4s9 Filed 04/00/13 Page 4obtl4edgadiale 640064

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION
X
IN RE ETHICON, INC., PELVIC REPAIR : CIVIL ACTION NO, 2:12-md-02327
SYSTEM PRODUCTS LIABILITY > MDL No. 2327

LITIGATION

Judge Joseph R. Goodwin
This Document Applies To All Actions

x

To: — Christy D. Jones, Esq.
Butler, Snow, O’Mara Stevens & Cannada, PLLC
1020 Highland Colony Parkway, Suite 1400
Ridgeland, MS 39157
601-948-5711

PLAINTIFFS’ CERTIFICATE OF SERVICE OF
AMENDED NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
THROUGH DESIGNATED WITNESS REGARDING TVT-E

I hereby certify that on April 2, 2013, I served Plaintiff's Amended Notice to Take Oral
Deposition of Defendant through Designated Witness regarding TVT-E via email and the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the CM/ECF participants registered to receive service in this
MDL.

By: /s/Thomas P, Cartmell
THOMAS P. CARTMELL
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112
816-701-1102
Fax 816-531-2372
tcartmell@wellp.com

D. RENEE BAGGETT

Aylstock, Witkin, Kreis and Overholtz, PLC
17 E. Main Street, Suite 200

Pensacola, FL 32563

850-202-1010

850-916-7449

Rbaggett@awkolaw.com

Plaintiffs’ Co-Lead Counsel

Case 2:12-md-02327 Document 584-1 Filed 05/09/13 Page 80 of 80 PagelD #: 6503

CERTIFICATION OF SERVICE

I certify that on this date I caused the attached Responses & Objections to

Plaintiffs’ Notices of 30(b)(6) Deposition of Defendants Johnson & Johnson, Ethicon, Inc. and

Ethicon Women’s Health & Urology to be served by LexisNexis File & Serve upon all counsel

of record, and by e-mail upon Plaintiffs’ Co-Liaison Counsel in New Jersey and Coordinating

Co-Lead Counsel in the MDL:

Adam M. Slater, Esq.

Mazie, Slater, Katz & Freeman
103 Eisenhower Parkway
Roseland, New Jersey 07068
Plaintiffs’ Co-Liaison Counsel,
NJ

Jeffrey Grand, Esq.

Bernstein Liebhard, LLP

10 East 40" Street

New York, NY 10016

Plaintiffs’ Co-Liaison Counsel, NJ

Henry Garrard, Esq.
Blasingame, Burch, Garrard

& Ashley, P.C.

440 College Ave., Suite 320
Athens, GA 30601
Coordinating Co-Lead Counsel,
MDL

Dated: April 15, 2013

4356043vl

Jillian A.S. Roman, Esq.

Cohen, Placitella & Roth, P.C.

2 Commerce Square, Suite 2900
2001 Market Street

Philadelphia, PA 19103

Plaintiffs’ Co-Liaison Counsel, NJ

Bryan Aylstock, Esq.

Aylstock, Witkin, Kreis & Overholtz
17 E. Main Street, Suite 200
Pensacola, FL 32502

Coordinating Co-Lead Counsel, MDL

Fred Thompson, Esq.

Motley Rice

321 South Main St., 2nd Floor
Providence, RI 02903

Coordinating Co-Lead Counsel, MDL

iana Katz Gerstel
